Case 2:10-md-02179-CJB-DPC Document 1900-7 Filed 04/08/11 Page 1 of 2

much.

a

untadl at

10
board will

21

6
your right

i?

23
Please be

24

25

163

Yes, sir.
CAPT NGUYEN:

Yes, sir. Thank you very

You are dismissed,

We'll take a break

o'clock,
(Whereupon, a short break was taken off the
record.)
OAPT NGUYEN:

Please be seated. ‘The

now ¢ail on Captain Curt Kuchta with
Transocean. Good morning, sir.
THE WITNESS :
Good morning.
CAPT NGUYEN;

Would you rise and raise

hand, please?
kK * * * ¥*
CAPTAIN CURT KUCETA,
after being first duly sworm in the cause,
testified as follows:
Cap? NGUYEN:

Thank you very much,

seated.

MR. KORNKE:

tebbles’

EXHIBIT

v

Case 2:10-md-02179-CJB-DPC Document 1900-7 Filed 04/08/11 Page 2 of 2

232
i I don't realiy recall.
2 MR. GODFREY:
3 Thank you. I have no
further
4 questions.
5 MR, GORDON:
6 Captain, would it be
okay if T
? ask some questions?
8 CAPT NGUYEN:
9 Suxe, go ahead.
16 EXAMINATION
li BY MR. GORDON;
12 9. Hello, Captain.
13 AY Hello.
14 o. I want to visit the call regs. Are
1s you familiar with the call regs?
216 A, Five weeks ago I was much more
29 familiax with them. Obviously, situation's
18 passed. I'm not familiar with them much
i3 anymore,
20 Oo. Is the DEEPWATER HORIZON, before she
aL sank, was she considered a vessel, in your
22 opinion?
23 A, Yes,
a4 Q. Were you the captain and master of

25 that vessel?
